                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION


 UNITED STATES OF AMERICA,
               Plaintiff,                                No. 10-CR-108-LRR
 vs.                                                           ORDER
 YORDAN CHAPELLI-PEDROSO,
               Defendant.

                                ____________________
       The matter before the court is United States Magistrate Judge Jon S. Scoles’s Report
and Recommendation (docket no. 52), which recommends that the undersigned accept
Defendant Yordan Chapelli-Pedroso’s guilty plea to Count One of the Superseding
Indictment (docket no. 14).
       On December 15, 2010, the government filed an Objection (docket no. 71) to the
Report and Recommendation. The Objection stated that Defendant was not informed of
a potentially applicable ten-year mandatory minimum at his plea hearing. On December
22, 2010, the court held a hearing (“Hearing”) on the Objection. Attorney John Lane
represented Defendant, who was personally present. Special Assistant United States
Attorney Daniel Chatham represented the government. At the Hearing, the court informed
Defendant of the potentially applicable ten-year mandatory minimum and stated that it
would hold the Report and Recommendation in abeyance pending an opportunity for
Defendant to consult with his attorney.
       On January 6, 2011, Defendant filed a “Reaffirmation of Guilty Plea”
(“Reaffirmation”) (docket no. 74). The Reaffirmation states that Defendant “understands
that the mandatory minimum term of imprisonment may be ten (10) years and reaffirms
his guilty plea.” Reaffirmation at 2. Accordingly, the court ADOPTS the Report and




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Recommendation and ACCEPTS Defendant’s guilty plea to Count 1 of the Superseding
Indictment.
      IT IS SO ORDERED.
      DATED this 6th day of January, 2011.




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